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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

    Paul Goldman,                           )
                                            )
           Plaintiff,                       )
                                            )
    v.                                      )   Civil Action No. 3:21-CV-420
                                            )
    Robert Brink, et al.,                   )
                                            )
           Defendants.                      )

         DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS THE
         SECOND AMENDED COMPLAINT FOR LACK OF JURISDICTION UNDER
                  FEDERAL RULE OF CIVIL PROCEDURE 12(B)(1)


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                                                                                v
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                                           INTRODUCTION

          The Election Officials’ motion to dismiss addressed the three issues that this Court directed

   the parties to brief: (1) whether Judge Novak or the three-judge panel should rule on standing; (2)

   whether Goldman has standing as a voter or as a candidate for the House of Delegates; and (3)

   whether oral argument on standing is necessary. See Mem. in Support of Mot. to Dismiss (“MTD

   Br.”) (ECF No. 77). Goldman responds by arguing the merits of his malapportionment claim, and

   by claiming that the entire House of Delegates is illegitimate because the Supreme Court of

   Virginia’s redistricting order declared invalid the districts on which the 2021 election was held.

          Goldman’s brief is long on rhetoric but falls short on standing—the only question the

   Fourth Circuit authorized this Court to answer. He offers no explanation of how he has suffered

   the sort of particularized injury-in-fact that Article III requires for any plaintiff who wants to

   invoke federal jurisdiction. There is a good reason for that: he suffered no injury in the 2021

   election because his district was not malapportioned. And Goldman has not identified a single

   authority of any kind supporting Article III standing for a plaintiff who does not vote in a

   malapportioned district, or for a prospective candidate whose alleged injury is the size of his

   district. Further, Goldman’s claim that he lacks a lawful representative in the House of Delegates

   because the Supreme Court has dissolved the House districts is preposterous. The Supreme Court

   merely drew the maps for the next election; it did nothing to the districts on which the 2021 election

   was held. Thus, while Goldman asks this Court to adjudicate the identity of his representative, the

   answer is simple: Goldman’s representative is the person who was duly elected to represent the

   district in which he resided in 2021—as is true of all Virginians—and that will remain the case

   until the next election. In any event, that question is irrelevant to the only issue before this Court:

   whether Goldman has standing. His brief makes clear that he does not.



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                                              ARGUMENT

          I.      Judge Novak should rule on Goldman’s standing to sue

          First, Judge Novak, rather than the three-judge district court, should rule on standing.

   Goldman marshals no response to the unbroken line of cases making clear that, if a court lacks

   subject matter jurisdiction over a Section 2284 claim, the district judge may “decline[] to convene

   a three judge court,” or, if the jurisdictional defect is discovered after the court is convened, the

   three-judge court may “dissolve[] itself, leaving final disposition of the complaint to a single

   judge.” Gonzalez v. Automatic Emp. Credit Union, 419 U.S. 90, 100 (1974); Shapiro v. McManus,

   577 U.S. 39, 44–45 (2015); see also MTD Br. 7–8. Goldman contends that “logic” dictates that

   the Fourth Circuit “must believe a three-judge court should decide standing” because otherwise

   the Fourth Circuit “would have remanded back to Judge Novak to pick up where he left off before

   Defendants appealed his Order.” Resp. in Opp. to Mot. to Dismiss (“Resp.”) 14 (ECF No. 80). But

   the Fourth Circuit’s remand order takes no position on which judge or judges comprise “the district

   court” that it ordered to “assess and resolve whether Goldman possesses Article III standing to

   sue.” Goldman v. Brink, No. 21-2180, 2022 WL 794968, at *1 (4th Cir. Mar. 15, 2022). 1 And the

   Fourth Circuit did not remand to the district court for it to “pick up where [it] had left off.” Resp.

   14. The Fourth Circuit retained jurisdiction of the appeal and remanded only the threshold question

   of Goldman’s Article III standing to maintain this suit. Goldman, 2022 WL 794968, at *1.

          Goldman also declares without explanation that the Supreme Court’s decision in McManus

   requires a three-judge court to decide the standing question because he has “raised serious issues



          1
            In response to Goldman’s contention during oral argument that the three-judge panel “are
   the only ones you can send [the case] back to,” Judge King remarked: “That doesn’t make any
   difference to us. If we send the case back, we send it back to the district court. Period. And they
   deal with it.” Oral Argument at 22:14–22:42, Goldman v. Brink, 2022 WL 794968 (No. 21-2180),
   available at https://www.ca4.uscourts.gov/OAarchive/mp3/21-2180-20220308.mp3.


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   of law.” Resp. 14. McManus held no such thing. It instead restated the longstanding distinction

   between “failing to raise a substantial federal question for jurisdictional purposes” and “failing to

   state a claim for relief on the merits.” 577 U.S. at 45. Section 2284 cases that fall into the former

   category may be dismissed for lack of jurisdiction by a single district judge. See Gonzalez, 419

   U.S. at 99–100; see also Atlee v. Laird, 339 F. Supp. 1347, 1350 (E.D. Pa. 1972) (“The decisions

   have uniformly held that the single district judge to whom an action is originally presented may

   refuse to request a three-judge court and dismiss the action if he concludes that the general

   requisites of federal jurisdiction are not present.”), aff’d 411 U.S. 911 (1973). Goldman’s failure

   to present any meaningful contrary arguments makes clear that the law does not require the three-

   judge panel to rule on this threshold issue.

           II.     Goldman lacks standing to bring his remaining claim

                   A. Goldman lacks standing as a voter

           Goldman’s brief purports to lay out at length a “statistical” merits case which he asserts

   demonstrates that Virginia’s House of Delegates districts were unconstitutionally apportioned in

   the 2021 election. See, e.g., Resp. 5–11. His merits case is wrong, see infra Part III, but also

   irrelevant at this stage of the litigation. The only question pending before this Court is whether

   Goldman has standing. Apart from repeatedly and erroneously claiming that the Election Officials

   have conceded his standing, he fails to demonstrate how he has suffered the sort of particularized

   injury to his right to vote that is necessary to establish Article III standing in this case.

           Even if Goldman has sufficiently demonstrated at this stage of the litigation that he voted 2



           2
            Goldman argues that his “status as a voter” is “not a requirement” for standing, invoking
   Justice Thomas’s concurring opinion in Evenwel v. Abbott, 578 U.S. 54 (2016). Resp. 23. This
   invocation is baffling. Justice Thomas in that opinion argued that the one-person-one vote
   principle—the principle upon which Goldman stakes his merits claim—lacks any constitutional



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   in the 2021 election,3 he must further demonstrate that he suffered an injury to his individual right

   to a properly weighted vote. Goldman entirely fails to do so.

          First, Goldman’s “standing” framework has nothing to do with standing: it is a merits

   theory with no connection to Goldman’s individual right to vote. The bulk of Goldman’s brief is

   devoted to calculating the “maximum deviation or variance” between various electoral districts,

   see, e.g., Resp. 5–11, which he describes as the “key metric in determining whether a challenged

   scheme is unconstitutional,” id. at 6. The question before the Court, however, is not whether the

   maps used in the 2021 election were unconstitutional, but whether Goldman has standing to

   challenge those maps at all. Accordingly, Harris v. Arizona Independent Redistricting Comm’n,

   578 U.S. 253 (2016)—which Goldman describes as “the leading U.S. Supreme Court case on

   permissible population deviations in a state legislative apportionment scheme,” Resp. 11—has




   foundation whatsoever, and that the Supreme Court should abjure the principle entirely. Evenwel,
   578 U.S. at 75–76. Justice Thomas therefore does not “agree[]” with Goldman’s argument. Resp.
   25. On the contrary, Justice Thomas’s Evenwel concurrence would preclude Goldman’s putative
   Fourteenth Amendment claim irrespective of his status as a voter or a nonvoter.
          3
            Goldman must prove that he voted in the election he claimed injured his right to vote. See
   MTD Br. 5–6. He now states in an affidavit that he voted, see Pl.’s Aff. ¶ 8 (ECF No. 81), but
   provides no supporting documentation. He instead argues that the Election Officials “have known,
   or should have known” that he voted because “this information is contained in the voter history . . .
   in the unique possession of the Department of Elections.” Resp. 22. But the law prohibits the
   Department of Elections from voluntarily disclosing voter-history information except to
   specifically enumerated entities (including political parties); this information “shall be furnished
   to no one else and shall be used only for campaign and political purposes and for reporting to
   constituents.” Va. Code § 24.2-406(A). Further, every registered voter in the Commonwealth of
   Virginia can immediately access his or her own registration and voter history online free of charge.
   See https://vote.elections.virginia.gov/VoterInformation/Lookup/polling. The Election Officials
   repeatedly offered to stipulate that Goldman voted if he would provide the Election Officials with
   supporting evidence, such as his online voter record. He refused. Goldman, not the Election
   Officials, bears the burden of adducing evidence to establish standing. Lovern v. Edwards, 190
   F.3d 648, 654 (4th Cir. 1999).


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   nothing to do with the issue before the Court, because that case did not address standing at all. 4

           Second, Goldman repeatedly misstates and misapplies the two cases on which he chiefly

   relies—Baker v. Carr, 369 U.S. 186 (1962), and Reynolds v. Sims, 377 U.S. 533 (1964). Those

   cases held that the right to vote is “individual and personal in nature,” Reynolds, 377 U.S. at 561,

   and, thus, only “voters who allege facts showing disadvantage to themselves as individuals have

   standing to sue” to remedy that disadvantage, Baker, 369 U.S. at 206. Consistent with this

   principle, the plaintiffs in both cases lived and voted in underrepresented districts. Compare Reply

   Br. of Appellant at 2, Baker v. Carr, 369 U.S. 186 (1962) (No. 6), 1961 WL 101843 (noting that

   the plaintiffs lived in Shelby, Davidson, Knox, Hamilton, and Montgomery counties), with Br. of

   Appellant at 9–10, Baker v. Carr, 369 U.S. 186 (1962) (No. 6), 1961 WL 101846 (noting that the

   districts comprising Shelby, Davidson, Knox, and Hamilton counties were massively

   underrepresented in the Tennessee legislature); compare also Sims v. Frink, 208 F. Supp. 431, 432

   (M.D. Ala. 1962) (per curiam) (noting that plaintiffs were residents of Jefferson and Mobile

   counties), with id. at 448, app. D; 450, app. E (data demonstrating that the state House and Senate

   districts encompassing Jefferson and Mobile counties were orders of magnitude larger than the

   ideal district size). Goldman, by contrast, lives in a district that was slightly overrepresented in the

   2021 elections. See MTD Br. 15–16.5


           4
            Every plaintiff in Harris resided in an overpopulated district and therefore satisfied this
   basic requirement for standing in a malapportionment claim. See Second Amend. Compl. ¶¶ 3–4,
   Harris v. Ariz. Indep. Redistricting Comm’n, 993 F. Supp. 2d 1042 (D. Ariz. Nov. 16, 2012) (No.
   2:12-cv-894), 2012 WL 5845371.
           5
              Goldman asks this Court to accept Avery v. Midland County, 390 U.S. 474 (1968), as a
   “supplemental authority.” See Mot. to Introduce Supplemental Authority ¶¶ 7, 10 (ECF No. 82).
   In that case, the plaintiff was a resident of one of four legislative districts in a county of about
   70,000 residents. Avery, 390 U.S. at 476. The plaintiff’s district contained 67,906 residents; the
   remaining three districts contained 2,094 residents combined. Ibid. A case in which the plaintiff
   resided in a district that was 388% larger than the ideal district does not help Goldman when the
   district in which he resided in 2021 was 1.12% smaller than the ideal district.


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          The Supreme Court in Gill v. Whitford very recently reiterated that a plaintiff lacks standing

   to maintain the sort of vote-dilution claim maintained by Goldman unless the “composition of the

   voter’s own district . . . causes his vote . . . to carry less weight than it would in another,

   hypothetical district.” 138 S. Ct. 1916, 1931 (2018); see MTD Br. 13–15. Goldman argues,

   however, that Gill is inapposite because it is “not a Reynolds case.” Resp. 19. Although Gill was a

   partisan-gerrymandering rather than malapportionment case, the Court expressly held that the

   injury suffered by a partisan-gerrymandering plaintiff is the same as the one suffered by a

   malapportionment plaintiff—the dilution of an individual’s vote. Gill, 138 S. Ct. at 1930–31. The

   standing analysis is therefore the same as well.

          If any doubt about the import of Gill, Reynolds, and Baker remained, it evaporates in the

   face of the consensus of the courts of appeals. Each court to have considered the question has held

   that a voter from an overrepresented district lacks standing to challenge the malapportionment of

   legislative districts. See, e.g., Garcia v. 2011 Legislative Reapportionment Comm’n, 559 Fed.

   Appx. 128, 133 (3d Cir. 2014) (holding that only voters in underrepresented districts have standing

   to challenge apportionment); Wright v. Dougherty County, 358 F.3d 1352, 1356 (11th Cir. 2004)

   (holding that a voter in a slightly overrepresented district lacked standing to challenge

   apportionment notwithstanding that other districts were even more overrepresented); League of

   Women Voters of Nassau Cnty. v. Nassau Cnty. Bd. of Supervisors, 737 F.2d 155, 161–62 (2d Cir.

   1984) (holding that voters in overrepresented districts categorically lack standing to challenge

   apportionment); Fairley v. Patterson, 493 F.2d 598, 603 (5th Cir. 1974) (explaining that “injury”

   in a malapportionment case “results only to those persons domiciled in the under-represented

   voting districts”); Skolnick v. Board of Comm’rs of Cook Cnty., 435 F.2d 361, 363 (7th Cir. 1970)

   (holding that a plaintiff in a slightly overrepresented district lacked standing to challenge




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   apportionment). Goldman does not cite a single case decided by any court holding that a plaintiff

   from an overrepresented district has standing to challenge a legislative apportionment.

          Goldman purports to distinguish some of these cases by pointing out that the legislatures

   in those cases are not identical to Virginia’s House of Delegates. 6 Resp. 11–12. That is true, but

   irrelevant. The principle those cases establish—that voters in overrepresented districts lack

   standing to challenge a legislative apportionment—is plainly applicable here. And, while Goldman

   argues that the Election Officials “cite no case that explicitly discusses, much less supports,” their

   theory that a plaintiff lacks standing if he “lives in a district with a population less than the ideal

   district population no matter how great the dilution of his vote might be due to the population

   difference between citizens in other parts of the state,” Resp. 21, the Election Officials did exactly

   that in their opening brief, see MTD Br. 17 (citing Wright, 358 F.3d at 1356, for the proposition

   that courts have squarely rejected the argument that voters in “slightly over-represented [districts]

   . . . ha[ve] standing because they were under-represented in comparison to” even more

   overrepresented districts).

          Third, Goldman asserts that he can show standing because the “constitutional point is to

   make sure we all feel equally represented.” Resp. 26; see also ibid. (“The fact others may have

   more or less harm does not make my harm any less constitutionally important.”). In Gill, the Court

   relied on Baker and Reynolds to reject a similar claim of “statewide injury.” 138 S. Ct. at 1930.

   Such an asserted injury is precisely the sort of “generally available grievance about government”



          6
            Goldman also describes the Election Officials’ reliance on Garcia v. 2011 Legislative
   Reapportionment Comm’n, 938 F. Supp. 2d 542 (E.D. Pa. 2013), as “baffling.” Resp. 18. But the
   Election Officials have never cited that case in any brief in this litigation. Instead, the Election
   Officials cited the Third Circuit’s opinion reviewing that decision, see MTD Br. 16–17 (citing
   Garcia, 559 Fed. Appx. 128), which held that voters in overrepresented districts, like Goldman,
   categorically lack standing to challenge the apportionment of a legislative map, Garcia, 559 Fed.
   Appx. at 133.


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   that “does not state an Article III case or controversy.” Lance v. Coffman, 549 U.S. 437, 439 (2007)

   (per curiam); see also Maryland Shall Issue, Inc. v. Hogan, 971 F.3d 199, 214 (4th Cir. 2020)

   (“Courts have long adhered to the rule that a ‘plaintiff generally must assert his own legal rights

   and interests, and cannot rest his claim to relief on the legal rights or interests of third parties.’”

   (quoting Warth v. Seldin, 422 U.S. 490, 499 (1975))).

          Finally, Goldman contends that the Election Officials have been “ironically trapped” into

   “conced[ing]” that voters in districts “with a population at least 10% greater than the ideal district”

   have standing. Resp. 15–16. 7 The Election Officials have conceded no such thing. Rather, the

   Election Officials have argued only that Goldman lacks standing because the district in which he

   was registered to vote in 2021 was overrepresented; they have raised no arguments about any other

   voter in any other district. Goldman therefore suffered no cognizable injury to his individual right

   to a properly weighted vote. MTD Br. 13–16. Goldman’s brief never meaningfully addresses this

   argument.8


          7
             This putative “concession”—and others Goldman erroneously claims the Election
   Officials have made, see, e.g., Resp. 27 (“Defendant conceded that Plaintiff . . . suffered a
   population deviation double the 10% marker in Harris, and roughly equal to what Cosner declared
   to be facially unconstitutional.”); ibid. (“According to Defendants, whatever constitutional harm
   Plaintiff may have suffered, indeed the nearly 1 million Virginians they concede were harmed have
   suffered, has been magically erased forever . . . .”)—appear to arise from Goldman’s
   misunderstanding of a footnote in a Fourth Circuit brief where the Election Officials argued that
   even assuming arguendo that Goldman’s flawed standing theory were correct, his arguments failed
   under his own theory, see Reply Br. of Appellant at 9 n.2, Goldman v. Brink, No. 21-2180, 2022
   WL 794968 (4th Cir. Feb. 8, 2022), 2022 WL 443730 (quoted at Resp. 14). But the Election
   Officials have clearly argued throughout that (1) Goldman’s standing framework, insomuch as he
   has articulated one, should be rejected; and (2) Goldman has failed to establish standing under the
   framework articulated by the Supreme Court and courts of appeals.
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            Goldman at times seems to argue, as he did in the Fourth Circuit, see Br. of Appellee at
   16–17, Goldman v. Brink, No. 21-2180, 2022 WL 794968 (4th Cir. Jan. 18, 2022), that his district
   was malapportioned if one compares the 2020 population of District 68 to the 2010 ideal district
   size, see, e.g., Resp. 6–8, 15. Mixing and matching data across censuses, however, is
   mathematically incoherent. The purpose of the “ideal” district is to determine whether the actual



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                    B. Goldman lacks standing as a candidate

             Goldman’s brief discussion of candidate standing, see Resp. 24, wholly fails to address any

   of the cases holding that candidates categorically do not suffer any cognizable injury from

   malapportionment, see MTD Br. 19–21. Nor does he address the Election Officials’ argument that

   even if candidates could suffer malapportionment injuries, Goldman suffered none because

   District 68 was not malapportioned during the 2021 election. Id. at 20. Instead, Goldman cites a

   single out-of-circuit district court case to support his argument that his desire to run as a candidate

   in a hypothetical 2022 election confers on him candidate standing to challenge the constitutionality

   of the 2021 election. See Resp. 24 (citing Favors v. Cuomo, 866 F. Supp. 2d 176, 187 (E.D.N.Y.

   2012)).

             This argument fails for three reasons. First, Goldman has not explained how his alleged

   desire to run in a hypothetical 2022 election gives him standing to challenge the constitutionality

   of the 2021 election. For the reasons stated in the Election Officials’ opening brief, a desire to run

   on one set of legislative maps in the future does not confer on a plaintiff standing to challenge the

   constitutionality of different maps used in a previous election. MTD Br. 22. Second, even if it

   could, Goldman has wholly failed to prove that he is “able and ready” to seek any office in a

   hypothetical 2022 election. Carney v. Adams, 141 S. Ct. 493, 500 (2020). Although he states in

   his brief that he is “ready and willing to run in House District 78” in 2022, Resp. 24, his affidavit




   districts are equally proportional to the whole population of the State. See MTD Br. 14–15 & n.7.
   The sum of all the district populations must, therefore, be equal to the total state population that
   was used to calculate the ideal district. But, under Goldman’s theory, the sum of the parts—the
   2020 district populations—can never equal the whole—the 2010 total state population—because
   Virginia grew nearly eight percent between 2010 and 2020. Stipulation of Facts (“SOF”) ¶ 30
   (ECF No. 73). Mixing and matching census data as Goldman does makes equal representation
   literally impossible. When determining whether an actual district is properly proportioned by
   comparing it to the ideal district, one must always use data from the same census.


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   does not even go that far. He testifies only that he would “meet all the qualifications to run” in

   such an election. Pl.’s Aff. ¶ 30.

          Finally, Goldman’s reliance on Favors is misplaced. In that case, New York failed to

   complete its redistricting process just a few months before the scheduled 2012 primary election—

   notwithstanding that the state had received the 2010 Census results a year before. See Compl.

   ¶¶ 59, 77–79, Favors v. Cuomo, 866 F. Supp. 2d 176 (E.D.N.Y. Nov. 17, 2011) (No. 11-cv-5632),

   2011 WL 5830607 (“Favors Compl.”). The plaintiffs were five voters living in underrepresented

   districts; one of those voters was also considering a run for state senate. See id. ¶¶ 14–19. They

   alleged that the existing state and congressional districts maps were unconstitutionally apportioned

   “due to the population changes reflected in the 2010 census.” Favors, 866 F. Supp. 2d at 179.

   Convinced that the legislature could not draw maps in time for the looming primary elections, the

   plaintiffs sought a judicial order drawing new maps on the ground that the legislative delay could

   deprive them of constitutional representation. Id. at 182. The voter plaintiffs based their standing

   primarily on the alleged underrepresentation of their particular districts under the pre-2010 maps.

   Id. at 187 (citing Favors Compl. ¶¶ 108–09, 120, 122). The lone voter-candidate plaintiff further

   alleged that he lived near the border of two districts and did not know in which district he would

   be living following redistricting. Ibid. His injury, the voter-candidate plaintiff argued, was an

   inability to identify his voters or to know where to begin the campaigning process. Ibid; Favors

   Compl. ¶ 15.

          Favors is inapposite in this case. First, the plaintiffs there challenged the constitutionality

   of a map to be used in an upcoming election; unlike Goldman, they did not argue that an interest

   in an upcoming election gave them standing to challenge the constitutionality of a previous

   election. Favors therefore provides no support for Goldman’s theory of candidate standing.




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           Second, the prospective candidate plaintiff in that case did not allege a malapportionment

   injury like Goldman does—that is, he did not allege that his injury had anything to do with the size

   of his district. Instead, he alleged that he could not determine what his district was, or who his

   constituents were, and therefore could not begin campaigning. Favors, 866 F. Supp. 2d at 187. But

   Goldman has not alleged that his injury arose from uncertainty over the identity of his constituents

   because of uncertainty of the boundaries of his district; he has alleged only that his injury arose

   from the number of voters in his readily identifiable district. Second Amend. Compl. ¶¶ 57–59

   (ECF No. 18). Favors therefore provides no support for Goldman’s theory of candidate injury-in-

   fact.

           Third, the Favors court did not actually rest its decision on candidate standing. All the

   plaintiffs in that case—including the prospective candidate—were voters, and all sought the same

   relief—an order redrawing the state legislative and congressional districts. “[T]he Supreme Court

   has made it clear that ‘the presence of one party with standing is sufficient to satisfy Article III’s

   case-or-controversy requirement.’” Bostic v. Schaefer, 760 F.3d 352, 370 (4th Cir. 2014) (quoting

   Rumsfeld v. Forum for Academic & Institutional Rights, Inc., 547 U.S. 47, 52 n.2 (2006)).

   “Consequently, once it is established that at least one party has standing to bring the claim, no

   further inquiry is required as to another party’s standing to bring that claim.” Maryland Shall Issue,

   Inc., 971 F.3d at 209. The Favors court thus cited only voter-standing decisions and did not

   separately address the standing of the plaintiff who was both a voter and prospective candidate.

   866 F. Supp. 2d at 186–87. Favors therefore does not support Goldman’s candidate standing

   theory.9



           9
            In any event, a single out-of-circuit district court case lacking any meaningful legal
   analysis in support of a candidate’s standing cannot overcome the overwhelming weight of the



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                  C. Goldman fails to overcome the prudential barriers to relief or otherwise
                     demonstrate that this case is not moot

          Finally, Goldman has not established that the relief he seeks is available under these

   circumstances. He makes the conclusory assertion that his vote-dilution injury is ongoing and that

   it can be remedied by ordering an entirely new House of Delegates election, including moving the

   already-scheduled primary elections to “late summer.” Resp. 25, 27. But this argument ignores the

   Supreme Court’s repeated warning that “federal courts ordinarily should not alter state election

   laws in the period close to an election.” Democratic Nat’l Comm. v. Wisconsin State Legis., 141

   S. Ct. 28, 30 (2020) (Kavanaugh, J., concurring in denial of application to vacate stay) (citing

   Purcell v. Gonzalez, 549 U.S. 1 (2006) (per curiam)). Goldman does not even address this well-

   established prudential doctrine in his brief.

          Goldman does not merely seek changes to an existing election. He instead asks for an

   entirely new election—a far more intrusive federal judicial intervention into Virginia’s election

   laws than merely altering an existing rule. Awarding such relief would cause the sort of judicially

   created confusion the Purcell doctrine is designed to prevent. “Running elections state-wide is

   extraordinarily complicated and difficult,” and “state and local election officials need substantial

   time to” make the “enormous advance preparations” to overcome the “significant logistical

   challenges” a statewide election presents. Merrill v. Milligan, 142 S. Ct. 879, 880 (2020)

   (Kavanaugh, J., concurring in grant of applications for stays). This is a herculean task in the best

   of conditions. But “even heroic efforts” of state and local election officials “likely would not be




   thoroughly reasoned decisions the Election Officials cited demonstrating that candidates do not
   have standing to challenge alleged malapportionment. See MTD Br. 19–20 (citing Arizona State
   Legis. v. Arizona Indep. Redistricting Comm’n, 576 U.S. 787 (2015); Toth v. Chapman, 2022 WL
   821175 (M.D. Pa. Mar. 16, 2022); City of Philadelphia v. Klutznick, 503 F. Supp. 663 (E.D. Pa.
   1980)).


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   enough to avoid chaos and confusion” if the Commonwealth were suddenly required to hold an

   unscheduled, state-wide election in just a few months. Ibid.

           Goldman’s proposed relief is also quintessentially injunctive, but an injunction is an

   improper remedy for past injuries that cannot repeat themselves. See MTD Br. 24–26. Rather than

   explain why an injunction would be appropriate to remedy alleged injuries that accrued at the time

   of the 2021 election, Goldman responds that he disclaimed any attempt to enjoin the 2021 election.

   Resp. 12–13. That is true, and the Election Officials have not contended otherwise. It is also a non

   sequitur. While Goldman disclaimed one kind of injunction, he simultaneously seeks another kind:

   an injunctive order for a special election fashioned after the order awarded in Cosner v. Dalton,

   522 F. Supp. 350 (E.D. Va. 1981). Second Amend. Compl. at Remedy ¶¶ D & E; see, e.g., Nken

   v. Holder, 556 U.S. 418, 428 (2009) (observing that an injunction is the court’s use of its “full

   coercive powers” to “direct[] the conduct of a party,” telling that party “what to do or not to do”). 10

           Goldman contends that judicially ordered special elections are “not unusual in Virginia.”

   Resp. 25. In support of that claim, he cites a single, 41-year-old example. See Cosner, 522 F. Supp.

   350. Setting aside that this singular example proves just how unusual this remedy is, Goldman




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              Goldman now claims that he has a “Federal Constitutional Right to a 2022 Election.”
   Resp. 17. Such a claim is not before this Court, as a constitutional right to a special election was
   not raised in his complaints or elsewhere in this litigation. It is also meritless. Goldman cites no
   case—nor could he—establishing such a constitutional right. Cosner did not establish a federal
   constitutional right to a special election. It instead ordered a special election as an equitable remedy
   to address the use of unconstitutionally apportioned maps in future elections. Cosner, 522 F. Supp.
   at 363–64. In the intervening 41 years, however, the Supreme Court has curtailed the equitable
   power of the district courts to order special elections as remedies for unconstitutional maps—and
   did so in a case unanimously vacating a special-election order issued by a district court in this
   circuit. See North Carolina v. Covington, 137 S. Ct. 1624, 1625–26 (2017) (per curiam) (vacating
   Covington v. North Carolina, No. 1:15-cv-399, 2016 WL 7667298 (M.D.N.C. Nov. 29, 2016));
   see also Covington v. North Carolina, 270 F. Supp. 3d 881, 884 (M.D.N.C. 2017) (refusing to
   order special election on remand from Supreme Court as a remedy for a six-year-old racial
   gerrymander affecting dozens of districts and millions of voters).


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   again fails to appreciate the crucial distinction between Cosner and this case. Cosner involved a

   challenge to a future election the plaintiffs alleged would be held using an unconstitutionally

   apportioned map, with the expectation that all following elections until the next census would

   likewise be held under the allegedly unconstitutional map. Id. at 353–54, 363. Here, however, the

   2021 election giving rise to Goldman’s vote-dilution claim has already transpired. Unlike Cosner,

   there is no chance of future elections being held using the 2011 maps because Virginia has since

   completed its redistricting using the 2020 Census data, and subsequent elections will proceed on

   new maps. See In Re: Decennial Redistricting Pursuant to the Constitution of Virginia, art. II,

   §§ 6 to 6-A, and Virginia Code § 30-399, Final Order Establishing Voting Districts for the Senate

   of Virginia, the House of Delegates of Virginia, and Virginia’s Representatives to the United States

   House of Representatives, Sup. Ct. Va. (Dec. 28, 2021), https://www.vacourts.gov/courts/scv/

   districting/redistricting_final.pdf (“Redistricting Order”). Cosner is inapposite because, despite his

   conclusory protestations to the contrary, Goldman’s asserted vote-dilution injury took place

   entirely in the past and could not be repeated in the future.

          III.    Oral argument on standing is not necessary

          The Election Officials agree with the Court that oral argument on standing is not necessary.

   See Mar. 21, 2022 Hr’g Tr. 23 (ECF No. 74) (“[I]t seems to me this could be decided off the

   papers.”). None of the material facts are in dispute notwithstanding that Goldman filed two factual

   submissions apart from the stipulation of facts ordered by the Court (see ECF Nos. 72, 81). If,

   however, the Court concludes that Goldman’s standing turns on any disputed factual issue, the

   Election Officials ask the Court to order jurisdictional discovery and reserve the right to seek an

   evidentiary hearing and oral argument. The Election Officials are also happy to present argument

   to the extent it would aid the Court’s decisional process.




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          The merits of Goldman’s claim are not before the Court, nor should they ever be because

   Goldman lacks Article III standing. But a word on the merits is appropriate given the serious

   accusations Goldman has leveled against the Election Officials and “not one but two Attorneys

   General and their staff.” Resp. 12–13. Goldman claims oral argument is necessary because of the

   “emergence of the most radical gutting of the Reynolds principle in modern Virginia history ever

   proposed by the Office of the Attorney General” in which the Election Officials have “admitted

   the massive violation of voting rights for close to a million Virginians” and “believe they are above

   accountability in a federal court.” Id. at 29; see also id. at 16 (accusing “the Attorney General and

   Defendants, sworn to ensure the integrity of our electoral process” as “fe[eling] no obligation to

   protect the voting rights of . . . millions harmed but whose harm they fail to recognize”). While the

   merits of Goldman’s claim are irrelevant at this stage, Goldman’s accusations can be answered

   quite simply: The Commonwealth of Virginia’s conduct of the 2021 election did not violate the

   United States Constitution.

          The Fourteenth Amendment does not require a state to reapportion its legislative districts

   before new census data are available. League of United Latin Am. Citizens v. Perry, 548 U.S. 399,

   421 (2006); Georgia v. Ashcroft, 539 U.S. 461, 488 n.2 (2003). Here, Virginia did not obtain

   census data until 79 days after Virginia’s primary election, and only a few weeks before voting in

   the general election began. SOF ¶¶ 3, 13, 15, 19. Accordingly, it is as much a constitutional non

   sequitur to use the 2020 Census data to review the constitutionality of the 2021 election as it would

   be to use those data to review the 2019 election. 11 The 2010 Census data were the “best population



          11
             Goldman apparently rejects this well settled rule. He argues that “populations in growing
   areas are disadvantaged long before the Census is done,” such that underrepresented areas “did not
   magically lose their equal representation rights last August only when the new Census data arrived
   in Richmond.” Resp. 18. Under Goldman’s theory, then, States must conduct redistricting between



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   data available” for the 2021 election, and Virginia properly used the existing districts. Karcher v.

   Daggett, 462 U.S. 725, 738 (1983). Indeed, the COVID-19 pandemic and the federal government’s

   resulting failure to timely deliver the 2020 Census data affected 27 States with 2021 redistricting

   deadlines.12 See Br. of U.S. Dept. of Comm., et al. at 18, Alabama v. U.S. Dep’t of Comm., 546 F.

   Supp. 3d 1057 (M.D. Ala. 2021) (No. 3:21-cv-00211), 2021 WL 6495843.

          Goldman also claims not to know which Delegate represents him in the General Assembly.

   Resp. 27 (“Who, then, is Plaintiff’s representative in the House of Delegates?”). The answer to

   this question is likewise simple: His representative is the representative of the current House

   District 68, who was duly elected during the 2021 House of Delegates election. The Supreme Court

   of Virginia did not “declare[]” the current districts “no-longer valid” or dissolve them, as Goldman

   wrongly asserts. Resp. 10. It has no power to do so. See Va. Const. art. II, § 6-A(f), (g) (defining

   Supreme Court’s constitutional role in reapportionment process); Va. Code § 30-399

   (implementing Article II, § 6-A(f), (g)). It merely instructed that the new districts would govern

   future elections. Redistricting Order 2–3; cf. Alabama Legis. Black Caucus v. Alabama, 988 F.

   Supp. 2d 1285, 1317 (M.D. Ala. 2013) (distinguishing between “the legislative districts currently



   censuses whenever an area becomes “constitutionally disadvantaged,” ibid., which could require
   multiple rounds of redistricting between censuses on the basis of non-census population data. But
   the Supreme Court has rejected precisely this theory. Ashcroft, 539 U.S. at 488 n.2; League of
   United Latin Am. Citizens, 548 U.S. at 421; cf. Reynolds, 377 U.S. at 583. Virginia therefore had
   no obligation to redraw its maps before the new census data arrived.
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              New Jersey, for example, held elections for both chambers of its legislature in November
   2021. See NJ Division of Elections, 2021 Election Information, N.J. Dep’t of State (Dec. 14, 2021),
   https://tinyurl.com/yc88ref8. A year before the election, New Jersey adopted a constitutional
   amendment requiring the use of its 2011 legislative maps for the 2021 election unless the State
   received the 2020 Census data by February of 2021. See N.J. Const. art. IV, § 3, ¶ 4. New Jersey
   did not receive data by the February deadline, and it held the 2021 election on the basis of the 2011
   maps. See David Wildstein, Census data set to arrive by September 30, keeping current legislative
   districts intact until 2023, New Jersey Globe (Feb. 12, 2021), https://tinyurl.com/pmy7t5yy. To
   the best of the Election Officials’ knowledge, this provision has not been challenged as a violation
   of the federal Constitution.


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   in place, which are set to expire soon” and “the redistricting plans that have already been enacted

   and will be in effect for the next election”), appeal dismissed by 134 S. Ct. 694 (2013). Goldman’s

   theory of the effect of the redistricting order would also require a new election for Virginia’s Senate

   more than eighteen months before the next scheduled Senate election because the district maps for

   that chamber were also redrawn. Redistricting Order at 1–2. In fact, it would require a new election

   for every state legislative body for which redistricting is conducted in the middle of the legislators’

   terms—which includes Virginia’s Senate every other decade, see, e.g., Chapter 2 of the Acts of

   Assembly (2001 Special Session I), available at https://tinyurl.com/4akhcxuk—because Goldman

   interprets redistricting as dissolving current districts rather than setting the rules for the next

   election. Such a theory defies common sense as much as it defies the plain text of the redistricting

   order.

            In any event, the only issue before this Court is whether this single plaintiff has standing

   to sue. He categorically does not, and oral argument is not necessary to determine that issue. This

   case should be dismissed.

                                             CONCLUSION

            For the foregoing reasons, and for the reasons stated in Defendants’ Memorandum in

   Support of their Motion to Dismiss the Second Amended Complaint for Lack of Jurisdiction under

   Federal Rule of Civil Procedure 12(b)(1), this Court should dismiss Goldman’s remaining claim

   for lack of standing.




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   Dated: April 25, 2022                Respectfully submitted,

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                                               JOHN O’BANNON
                                               JAMILAH D. LECRUISE
                                               SUSAN BEALS

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                                  CERTIFICATE OF SERVICE

          THIS IS TO CERTIFY that on April 25, 2022, I electronically filed the foregoing with

   the Clerk of Court using the CM/ECF system. A true copy was also sent, via email pursuant to an

   agreement between the parties, to:


          Paul Goldman
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          Richmond, VA 23226
          Pro se Plaintiff

                                                 /s/ Andrew N. Ferguson
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